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EXHIBIT A

CASE NO. 18-20685-CR-W1ILLIAMS
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AFFIDAVIT
Of Daniel M. Holtz
STATE OF FLORIDA

COUNTY OF MIAMI-DADE

BEFORE ME, the undersi gned authority, personally appeared Daniel M. Holtz who after
being duly sworn deposes and says:

1. My name is Daniel M. Holtz and I am personally familiar with the contents of this
affidavit.

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Tam the Chairman/President of Domaine Select Wine and Spirits LLC. (“DSWS”) and
authorized to act on behalf of DSWS in all respects.

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DSWS is in the business of importing and selling wine and alcoholic beverages from
around the world and has been in this business since 1999 and employs approximately
60 persons.

4. In 2016 and 2017, DSWS issued Series 4 convertible notes including approximately
$2 million in Series A convertible notes to Global Securities Trade Finance and
Gustavo Hernandez respectively. These notes became a part of this Court’s Amended
Protective Order issued in Case No. 18-cr-20685-KMW, (Docket Entry #60)

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DSWS needs additional capital to continue doing business and therefore needs to issue
additional convertible notes (Series B notes). The issuance of these notes will not sell,
transfer, assign, pledge. distribute, give away, dispose of, or encumber the Series A
notes that are the subject of this Court's order.

6. Neither defendant Gustavo Adolfo Hernandez Frieri, nor any of his entities are
involved in the issuance of these Series B notes, are not Investors. The issuance of
these Series B notes will not result in any distribution of assets to any defendant.

7, The issuance of the Series B notes by DSWS is hecessary to continue doing business
and to maintain the value of the restrained Series A notes.

FURTHER AFFIANT SAYETH NOT

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DANIEL M,. HOLTZ

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SWORN AND SUBSCRIBED before me this 10 day of January 2019, who

___ personally known to me or has produced FLO. Hu32-1#3~57- 242-0 as identification

Pye Milea

BRIAN A VAZQUEZ e. of Notary Publid, tafelot Frorida Ke York
NOTARY PUBLIC-STATE OF NEW YORK '

No. 01VA6331691
Qualified in New York: County : Vv im: Zz,
Ady Commission’ Explres. October 13, 2B19 By C Ie wa BEZCMT sud

of Notary Public (Print or Type) 2 ee

My Commission expires: : io) Zz, / 9 i &

